Case 2:20-cv-00708-RJS Document 199 Filed 05/15/23 PageID.3053 Page 1 of 2




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Attorneys for Defendants Responsive Surface
Technology, LLC, Patientech, LLC and Robert Golden

                       IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH

 PURPLE INNOVATION, LLC,                         SUBSTITUTION OF COUNSEL OF
                                                    STEPHEN P. HORVAT FOR
                Plaintiff,                      DEFENDANTS, AND WITHDRAWAL
                                                OF COUNSEL TRACY H. FOWLER,
 v.                                               ELISABETH M. McOMBER AND
                                                       ANNIKA L. JONES
 RESPONSIVE SURFACE TECHNOLOGY,
 LLC; PATIENTECH, LLC; ROBERT
 GOLDEN; et al.                                      Case No. 2:20-cv-00708-RJS
                                                        Judge Robert J. Shelby
                Defendants.



       Please take notice, pursuant to DUCivR 83-1.4, Stephen P. Horvat of the law firm

ANDERSON & KARRENBERG, P.C., hereby enters his appearance and substitutes as counsel

for Defendants, Responsive Surface Technology, LLC, Patientech, LLC and Robert Golden, and

Tracy H. Fowler, Elisabeth M. McOmber and Annika L. Jones of Snell & Wilmer withdraw as

counsel for Defendants Responsive Surface Technology, LLC, Patientech, LLC and Robert

Golden in the above-entitled action.




                                            1
Case 2:20-cv-00708-RJS Document 199 Filed 05/15/23 PageID.3054 Page 2 of 2




     DATED this 15th day of May, 2023

                                            ANDERSON & KARRENBERG


                                            /s/ Stephen P. Horvat
                                            Stephen P. Horvat
                                            Attorneys for Defendants Responsive
                                            Surface Technology, LLC, PatienTech, LLC,
                                            and Robert Golden


                                            SNELL & WILMER L.L.P.


                                            /s/ Tracy H. Fowler*
                                            Tracy H. Fowler

                                            /s/ Elisabeth M. McOmber*
                                            Elisabeth M. McOmber

                                            /s/ Annika L. Jones*
                                            Annika L. Jones

                                            *Signed by filing attorney with permission




                                        2
